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5 Attorneys for Plaintiff
     Dixie Holdings, LLC derivatively on behalf of Red Dice Holdings, LLC
6
7
8                SUPERIOR COURT FOR THE STATE OF CALIFORNIA
9            FOR THE COUNTY OF SAN-DMGO F CENT-RAL DISTRICT
10
11 DIXIE HOLDINGS, LLC, a Colotado                      Case No. 37-2013-000513302-CU-BC-CTL
   limited liability company, derivatively
12 on behalf of RED DICE HOLDINGS,                      PLAINTIFFS' VERIFIED
                                                        DERIVATIVE COMPLAINT FOR -
13 LLC, a California limited liability                  DAMAGES AND DECLARATORY
   company,
14
                                                        RELIEF:
                   Plaintiff,
15                                                      1) BREACH OF CONTRACT
           ST.

16                                                      2) DECLARATORY JUDGMENT
   MEDICAL MARIJUANA, INC., a
17 California corporation,                              DEMAND FOR JURY TRIAL

18                     Defendant.
19
20
21
            COMES NOW, Dixie Holdings, LLC ("Dixie"), derivatively on behalf of Red Dice
22   Holdings, LLC ("Red Dice"), by and through its attorneys, Messner Reeves, LLP, and
23   submits its Verified Complaint for Damages and Declaratory Relief against Medical
     Marijuana, Inc. ("MJNA"), and states as follows:
24
                                              PARTIES
25
26         1.      Red Dice is a California limited liability company with its business address of
   record located at 2665 Ariane Dr., Suite 207, San Diego, California 92117. Red Dice is a
27 two-member limited liability company. Red Dice is in the business of licensing, marketing
   and managing the "Dixie 'Elixirs' brand and products, as well as developing and
28 distributing certain legal hemp and cannabis based products.


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1        2.      Dixie is a Colorado limited liability company with its principal place of
  business located at 1610 W'ynkoop St., Suite /4400, Denver. CO 80202. Dixie is a member of
2 Red Dice with a forty percent (40%) ownership interest.
3
         3.      MJNA is an Oregon corporation with its principal place of business located at
4 2665 Ariane  Dr., Suite 207, San Diego, California 92117. MJNA is the other member of Red
  Dice with a sixty percent (60%) ownership interest.
5
                                 JURISDICTION AND VENUE
6
7           4.     Jurisdiction over all causes of action is proper in the San Diego County
     Superior Court pursuant to California Constitution, Article VI, Section 10.
 8
            5.     Jurisdiction over all defendants is proper in the San Diego County Superior
 9
     Court because all defendants are doing business in the state of California.
10
            6.     Venue in San Diego County is property pursuant to Cal. Code Civ. Proc. §
11   395.5 because the underlying contract in dispute was entered into in San Diego County and
     Red Dice and MJNA's principal places of business are located in San Diego County.
12
13                                  GENERAL BACKGROUND

14         7.      Red Dice is a California limited liability company formed on or about April 5,
   2012 by Dixie and MJNA for the purpose of licensing, marketing and managing the "Dixie
15 'Elixirs' brand and products, as well as developing and distributing certain legal hemp and
16 cannabis based products. A copy of the Operating Agreement is attached hereto as Exhibit 1.
17         8.      Red Dice has only two members, with the following ownership interests:
     MJNA sixty percent (60%) and Dixie forty percent (40%). See Exhibit B to Operating
18
     Agreement attached hereto as Exhibit 1.
19
             9.     Vincent M. Keber, III and Charles Smith are the principal owners of Dixie.
20
           10.    Upon information and belief, MJNA, as a corporation, has a multitude of
21 shareholders; the largest of which is a Delaware corporation known as Hemp Deposit and
22 Distribution Corporation, Inc. ("HDDC").
23       11. Upon information and belief, HDDC is primarily owned and controlled by
   Michael Llamas or through his representative Michelle Side, current COO of MJNA.
24 Michael Llamas previously served as the President, CEO, and Chairman of the board for
25 MJNA until approximately September 2012.
26            12.   Pursuant to the Operating Agreement, § 1.1, Vincent Keber, III serves as the
     initial Manager of Red Dice, with powers limited by those expressly reserved for the
27   Management Committee. See Exhibit 1.
28



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1           13.      Pursuant to the Operating Agreement, § 9.4, Dixie and MJNA, as the sole
    members of Red Dice, were each authorized to appoint a single representative to the Red
    Dice Management Committee. Vincent Keber, III and Michael Mona, formerly of MJNA and
3 current President of CannaVest Corp., were the initial representatives of the Management
    Committee. See Exhibit 1.
4
            14.      Vincent Keber, III continues to serve on Red Dice's Management Committee.
 5
            15.      Michael Mona was removed from his position on the Management Committee
 6
    in November 2012 when he assumed his position as President of CannaVest Corp. It is
 7 unclear at this time who the MJNA designated Management Committee representative is, as
    no formal appointment has been made to replace Michael Mona.
 8
             16.     The Management Committee is reserved certain authority over management
 9 of Red Dice. The Operating Agreement, § 9.5 specifically reserves the following relevant
10 authority:
11           "General Powers of the Management Committee. Except for those actions expressly
12 reserved for the Manager and Members (individually or as a group) as provided in this
     Agreement, no act shall be taken, sum expended, decision made, obligation incurred or
13 power exercised by or on behalf of the Company with respect to any of the following without
     the written approval of the Management Committee and as per approved budget(s):
14
                 b. incur or amend any indebtedness on behalf of the Company;
15               c. entry into, termination or amendment of any material contract, or any material
16                    election of rights or remedies or any other material decision or determination,
                      or the granting of any material waivers or consents, under any material
17                    contract; for purposes of this Section 9.3(c) a material contract includes any
                      contract which is reasonably expected to provide for the making of payments
 18                   by the Company in any calendar year of greater than $50,000 (unless the
 19                   payment for a particular contract in excess of such $50,000 threshold is
                      expressly provided for in the Company's budget);
20
                 e. institution, compromise or settlement of any material litigation or arbitration
21                    proceeding, or settlement of any insurance claim for an amount in excess of
22                    fifty thousand dollars ($50,000);
                 f. creation or incurrence of any lien or encumbrance on any asset of the
 23                   Company;
24               n. the purchase or acquisition, directly or indirectly, of any assets in a transaction
                      or series of related transactions for consideration (including assumed liabilities
25
                      and indebtedness) in excess of one hundred thousand dollars ($100,000); or
26               o. entry into any contract or agreement to take any of the foregoing actions."

27        17.   The Operating Agreement, § 9.3 provides that upon "Stale Mate" of the
28 Management Committee as to issues arising from the reserved powers described in paragraph



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     16 above, the Members shall retain a neutral third-party to resolve those decisions the
     Members cannot unanimously agreed upon.
2
             18.     The Operating Agreement was drafted by NIJNA and its attorneys and/or
3
     representatives.
4
             19.    In good faith reliance on MJNA's representations that it would perform its
5    obligations under the terms and conditions of the Operating Agreement, Red Dice has
     assumed liabilities in excess of one-million dollars ($1,000,000.00) during its operation.
6
7        MANDATORY INITIAL CONTRIBUTIONS TO THE RED DICE COMPANY

 8          20.     The Red Dice Members: Dixie and NINA are contractually required to
   perform specific obligations as conditions of execution of the Operating Agreement. The
 9
   relevant conditions follow.
10
            21.     Pursuant to the Operating Agreement, § 9.1, Vincent Keber, III and Charles
11 Smith were required to, and in fact did, enter into employment and consulting agreements, as
   well as Non-Disclosures, "NonCompete" and Confidentiality agreements with Red Dice. See
12
   Exhibits C and F to Operating Agreement attached hereto as Exhibit 1.
13
            22.      Pursuant to the Operating Agreement, § 9.1, Dixie was required to, and did in
14 fact, transfer its entire inventory and intellectual property to Red Dice. See Exhibits D to
   Operating Agreement attached hereto as Exhibit 1.
15
16         23.    Pursuant to the Operating Agreement, § 9.1(k), MJNA was required to
   transfer 24,166,667 unrestricted common stock shares of MJNA, valued at a price per share
17 of $0.06 (the "Shares"), into escrow for use by Red Dice within fifteen (15) days of
   executing the Operating Agreement as funding for operation of Red Dice and as
18
   consideration to Dixie. See Exhibit G to Operating Agreement attached hereto as Exhibit 1.
19
           24.     The Operating Agreement required all of the Shares to be transferred by
20 MJNA into the escrow account for the benefit of Red Dice within fifteen (15) days. The
   Operating Agreement, § 9.1(k)(1) details when and under what conditions the Shares would
21 then be sold and the proceeds distributed and/or used by Red Dice:
22
               a. Upon closing of the deal, Red Dice was authorized to sell $250,000.00 worth
23                of the Shares. Red Dice was then required to use the $250,000.00 to pay
                  Dixie's principals ($50,000.00) and for repayment of Dixie's investor debts
24                ($150,000.00) and outstanding short-term liabilities ($50,000.00).
25
               b. Upon completion "Milestone 1," Red Dice was authorized to sell $250,000.00
26                worth of the Shares. Red Dice was then required to use the $250,000.00 to pay
                   Dixie's principals ($100,000.00) and for repayment of Dixie Member investor
27                 debts ($150,000.00). "Milestone 1" required Left Bank, LLC, an entity
28                 controlled by Vincent Keber, III, on behalf of Pharmasphere, to source a



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 1                 facility, sign a lease and maintain the required licensing necessary for
                   operation of Red Dice. "Milestone 1" was completed.
2
3              c. Upon completion of "Milestone 2," Red Dice was authorized to sell
                  $100,000.00 worth of Shares. Red Dice was then required to use the
4                 $100,000.00 to pay Dixie's debts to affiliated companies. "Milestone 2 -
                  required successful integration of a new product or an existing product
5                 controlled by MJNA into the Red Dice operations, to include manufacturing,
6                 packaging and marketing necessary for product launch. "Milestone 2" was
                  completed.
7
                d. After closing and completion of Milestones 1 and 2, Red Dice was authorized
 8                 to sell the remaining Shares and use the proceeds as working capital for the
 9                 operation of Red Dice's business ventures.

10           25.    In accordance with § 9.1(k) of the Operating Agreement, the requirements
     outlined for completion of Milestones 1 and 2 were substantially satisfied.
11
             26.     Despite satisfaction of subparts a-c above, MJNA did not transfer the Shares
12
     into the escrow account as detailed in Exhibit G and § 9.1(k) of the Operating Agreement
13   within fifteen (15) days of execution. To date, MINA has not transferred any shares to Red
     Dice.
14
             27.    In accordance with the terms and conditions of the Operating Agreement,
15
     Dixie did perform all of its obligations under said agreement, including transfer of its
16   inventory and intellectual property, as well as signing the required employment, Non-
     disclosure, "Noncompete" and Confidentiality agreements.
17
                            THE MICHAEL LLAMAS TRANSACTION
18
19         28.  After fifteen (15) days had elapsed following execution of the Operating
   Agreement, Dixie requested that MJNA transfer the Shares into the escrow account to no
20 avail. MJNA has failed to transfer the required Shares up to the date of filing of this
   Complaint.
21
22         29.     Over the next several months, Dixie, individually and on behalf of Red Dice,
   repeatedly requested that MINA perform its obligations under the Operating Agreement and
23 transfer the Shares. During this period, Dixie was forced to fund the operation of Red Dice
   entirely through its own assets and in contradiction to the purpose of entering the Operating
24 Agreement with MINA. A copy of correspondence sent to MJNA regarding its obligations
25 under the Operating Agreement is attached hereto as Exhibit 2.
26           30.    In September of 2012, MJNA's CEO, President and Chairman of its board of
     directors, Michael Llamas, was required to step down from these positions as a result of his
27   federal indictment relating to fraudulent mortgage transactions. A copy of the Llamas'
28   Superseding Indictment is attached hereto as Exhibit 3.



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1
           31.     Upon information and belief, following Michal Llamas stepping down as
2    CEO, President and Chairman of MJNA, he continued to play an active role in the
3    management of MJNA through his intermediary, Michelle Sides, the current COO.

4           32.     In November of 2012, after repeated threats from Dixie to terminate the Red
   Dice Operating Agreement as a result of MJNA's continuing material breaches, Michael
 5 Llamas offered to personally transfer two-hundred thousand dollars ($200,000.00) to Red
 6 Dice as a bridge loan until further financing could be secured. This loan was made in order to
   persuade Dixie to continue operating Red Dice.
 7
            33.     Later that same month, Michael Llamas also agreed to transfer ten million
 8 (10,000,000) unrestricted common stock shares of MINA held by HDDC into a brokerage
 9 account, to have those shares sold, and to transfer the proceeds of those stock sales directly to
   Dixie or its affiliates and its representatives, Vincent Keber, III and Charles Smith,
10 personally. Michael Llamas made this payment on behalf of Red Dice to Dixie and its
   affiliates and representatives, Vincent Keber, III and Charles Smith as repayment of
11 obligations Red Dice incurred pursuant to the terms of the Operating Agreement, § 9.1(c).
12
          34.     As consideration for the transfer of the ten million (10,000,000) unrestricted
13 common   stock shares of MJNA held by HDDC, Red Dice directed the repayment to Michael
   Llamas personally of the first 3,333,333 shares sold, equaling the amount Red Dice owed on
14 the two-hundred thousand dollar ($200,000.00) bridge loan.
15
           35.      Subsequent to this transaction, an additional 4,842,275 shares were sold on
16 behalf of Red  Dice to repay pre-existing liabilities owed to Dixie and its affiliates and
   representatives as contemplated in § 9.1(k) and to fund the ongoing operations of Red Dice.
17
           36.      Red Dice is still in possession of 1,824,392 shares of MJNA, which it is
18
   unable to sell due to insider trading max sales laws and regulations.
19
           37.      While no formal written agreement was executed related to the Michael
20 Llamas bridge loan or the transfer and sale of HDDC's MJNA shares, it was agreed between
   the parties that Red Dice would transfer shares or the cash equivalent back to HDDC and/or
21 Michael Llamas once MJNA performed its contractual obligation under the Operating
22 Agreement and transferred the Shares to Red Dice.
23                     THE MANDATORY OFFER TO SELL PROVISION
24                   Section 11.2 of the Operating Agreement provides that: "Mandatory Offer to
              38.
25   Sell. (a) Purchase Event. For purposes of this Agreement, any one of the following events
     shall constitute a "Purchase Event":
26
             (i) The insolvency of a Member ...
27
28



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            (ii) The commission of any act by a Member, directly or indirectly including through
            a third-party, which involves theft, embezzlement, fraud, or other act of moral
2           turpitude or criminal act (exclusive of misdemeanors or infractions), committed
3           against the Company, its clients, employees, shareholders or affiliates, or against any
            third-party if the Management Committee reasonably believes said acts will damage
4           or adversely affect the Company and its operations."
5           39.    Pursuant to 11.2 of the Operating Agreement
6
          40.     At the time the Operating Agreement forming Red Dice was executed and
 7 through September of 2012, Michael Llamas served as CEO, President and Chairman of
   MJNA.
 8
          41.     In September of 2012, Michael Llamas was indicted on four counts of mail
 9
   fraud and wire fraud in the U.S. District Court, E.D. California, Case No.: 2:12-cr-00315-
10 JAM. The Superseding Indictment of Michael Llamas is attached hereto as Exhibit 3.
11          42.    Following Michael Llamas' September 2012 indictment, Michael Llamas was
     formally removed as MJNA's CEO, President and Chairman.
12
13         43.     Upon information and belief, (1) Michael Llamas is still the controlling
   shareholder of MJNA through his personal corporate entity, HDDC; (2) HDDC, still controls
14 the operations of MJNA through the current COO, Michelle Sides; (3) Michael Llamas still
   actively acts on behalf of and communicates by and through MJNA's attorneys, Procopio,
15
   Cory, Hargreaves and Savitch LLP.
16
           44.      Upon information and belief, MJNA, Michelle Sides and/or Michael Llamas
17 personally, and/or through his intermediaries, including Michelle Sides, have (1) actively
   disregarded MJNA's corporate structure; (2) failed to adhere to corporate formalities
18 required by law such as holding and documenting corporate board of director meetings and
19 votes as so required, which includes MJNA's failure to obtain board of director approval for
   the sale of its majority owned subsidiary, PhytoSPHERE Systems, LLC's assets to
20 CannaVest Corp.; (3) published false and misleading financial statements to the public; (4)
   published false and misleading disclosure documents to the public; (5) and engaged in a
21 pattern of behavior intended to mislead and defraud its investors, affiliates, subsidiaries, and
22 business partners, including Red Dice and Dixie.
23         45.    The actions of MJNA, Michelle Sides and/or Michael Llamas, personally
   and/or through his intermediaries, constitute a violation of § 11.2(a)(ii) of the Operating
24 Agreement because they amount to fraud and/or acts of moral turpitude that have damaged
25 and will continue to damage in the future or adversely affect Red Dice and its operations.
26         46.     MJNA, Michelle Sides and/or Michael Llamas' actions described above
   constitute a violation of § 11.2(a)(ii) of the Operating Agreement and have therefore
27 triggered § 11.2 of the Operating Agreement's Mandatory Offer to Sell Provision.
28



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1                                 FIRST CLAIM FOR RELIEF
                                    BREACH OF CONTRACT
2                         (Against Defendant MJNA —Derivative Claim)
3                 Dixie incorporates the foregoing paragraphs 1 through 46 as though expressly
           47.
4 set forth herein.
5         48.      Dixie has standing to bring this action on behalf of Red Dice as a current
     member of the Company owning a forty percent (40%) interest.
6
7          49.     Red Dice, through its minority shareholder Dixie, has made numerous oral
   and written demands on its fellow member, MJNA, to provide the Shares pursuant to the
 8 terms and conditions of the Operating Agreement. Over thirty days (30) ago, Red Dice,
   through its minority shareholder Dixie, sent letter correspondence to MINA demanding it
 9 perform its obligations under the Operating Agreement. A copy of correspondence sent to
10 MINA regarding its obligations under the Operating Agreement is attached hereto as Exhibit
   2.
11
            50.     Pursuant to the Operating Agreement, § 9.5(e), Management Committee
12 approval is required for the institution of any litigation on behalf of Red Dice. The
13 Management Committee is comprised of only two members, a MJNA Member and a Dixie
    Member. Because unanimous consent is required for Management Committee action, any
14 further demands to the Management Committee are futile as MYNA will not institute legal
    action against itself to enforce the provisions of the Operating Agreement on behalf of Red
15 Dice. Further complicating this issue is the fact that since Michael Llamas' removal from the
    Management Committee in September of 2012, MJNA has failed to appoint a replacement
16
    representative to the Management Committee. The only current representative appointed to
17 the Management Committee is the Dixie representative, Vincent Keber, III.
18         51.     Based on the futility of further demands as described above and numerous
   verbal and written requests made to MYNA to perform its obligations under the Operating
19
   Agreement, Dixie has satisfied the requirements of Cal. Corp. Code § 5710 and this
20 derivative suit is proper.
21           52.     Dixie and MJNA entered into the Operating Agreement to form Red Dice on
22    or about April 5, 2012. See Exhibit!.

23            53.     Pursuant to the terms and conditions of the Operating Agreement, as more
      fully detailed in paragraphs 7 through 27 above, Dixie substantially performed each of its
24    obligations under the Operating Agreement.
25                  All the conditions precedent to MINA performing its obligations pursuant to
          54.
26 the Operating  Agreement    have been met, including execution of the Operating Agreement,
   achieving Milestones 1 and 2, and continued operation of Red Dice.
27
           55.      MYNA has failed to materially perform its obligations under the terms and
28 conditions  of the Operating Agreement. Specifically, MJNA has materially breached the


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     Operating Agreement.by failing to contribute the 24,166,667 shares of its unrestricted
     common stock to Red Dice.
2
3         56.    Red Dice has been damaged by MJNA's material breach of the Operating
  Agreement in that it lacks the Shares or equivalent financial capital to conduct its intended
4 operations in amount to be proven at trial.
 5         57.     Dixie, on behalf of Red Dice, seeks all other incidental and/or consequential
 6 damages   resulting from MJNA's material breach of the Operating Agreement the Court finds
   just and reasonable under the circumstances.
 7
                                 SECOND CLAIM FOR RELIEF
 8                                 SPECIFIC PERFORMANCE
                          (Against Defendant MJNA —Derivative Claim)
 9
10            58.    Dixie incorporates the foregoing paragraphs 1 through 57 as though expressly
     set forth herein.
11
           59.      The Operating Agreement entered into by MJNA and Dixie is a specifically
12 enforceable agreement because the terms and conditions of the agreement are sufficiently
13 certain as to fully detail each party's contractual obligations and thus warrant specific
   performance.
14
           60.      The Operating Agreement is a just and reasonable contract and adequate
15 consideration was offered by both parties. The Operating Agreement was also drafted by
16 MJNA and its attorneys and/or representatives.
17           61.     Pursuant to the terms and conditions of the Operating Agreement, as more
     fully detailed in paragraphs 7 through 27 above, Dixie substantially performed each of its
18   obligations under the Operating Agreement.
19
            62.     All the conditions precedent to MJNA performing its obligations pursuant to
20   the Operating Agreement have been met, including execution of the Operating Agreement,
     achieving Milestones 1 and 2, and continued operation of Red Dice.
21
22           63.     MJNA has failed to materially perform its obligations under the terms and
     conditions of the Operating Agreement. Specifically, MJNA has materially breached the
23   Operating Agreement by failing to contribute the 24,166,667 shares of its unrestricted
     common stock to Red Dice.
24
             64.      Red Dice's remedies at law are inadequate because the 24,166,667 shares of
25
     its unrestricted common stock are unique property.
26
           65.     Dixie, on behalf of Red Dice, seeks a ruling from the Court that MJNA is
27 required to specifically perform its obligations under the Operating Agreement and
   contribute the 24,166,667 unrestricted common stock shares of MJNA as this is the exact
28
   equivalent of its contractual obligation.


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 1
         66.      Pursuant to Cal. Corp. Code § 17201(a)(2), where a member fails to provide
2 property or services as agreed upon, a limited liability company may, at its option, require the
3 member to provide cash equivalent to the fair market value of the property or services.
4        67.     Alternatively, Dixie, on behalf of Red Dice, seeks a ruling from the Court that
  MJNA is required to contribute the equivalent cash value of the property and/or services it
5 was obligated to contribute to the Company upon execution of the Operating Agreement.
6
           68.    Dixie, on behalf of Red Dice, seeks all other incidental and/or consequential
 7 damages resulting from MJNA's material breach of the Operating Agreement the Court finds
   just and reasonable under the circumstances.
 8
 9                                THIRD CLAIM FOR RELIEF
                                 DECLARATORY JUDGMENT
10                       (Against Defendant MJNA —Derivative Claim)

11            69.    Dixie incorporates the foregoing paragraphs 1 through 68 as though expressly
     set forth herein.
12
13          70.    California Civ. Proc. Code § 1060 provides that a Court may determine the
   legal rights and duties with respect to another under a written contract where an actual
14 controversy relating to the legal rights and duties of the respective parties exists.
15               The Operating Agreement, attached hereto as Exhibit 1, is a valid, enforceable
           71.
16 written agreement concerning the rights and duties of Red Dice, Dixie and MJNA.

17          72.     An actual controversy exists as to whether MJNA, through its executives,
     intermediaries and affiliates, has materially breached § 11.2(a)(ii) of the Operating
18   Agreement through the conduct alleged at paragraphs 38 through 46.
19
             73.    Red Dice has a material interest in ensuring that its members are in
20   compliance with the provisions of the Operating Agreement, and particularly, the moral
     turpitude provision put into said agreement by MJNA.
21
22           74.    As previously stated above, upon information and belief, the following acts
     constitute a material breach of § 11.2(a)(ii) of the Operating Agreement:
23
                a. Michael Llamas was indicted for mortgage fraud;
24              b. MJNA, Michelle Sides and/or Michael Llamas personally, and/or through his
25                 intermediaries, including Michelle Sides, actively disregarded MJNA's
                   corporate structure;
26              c. MJNA, Michelle Sides and/or Michael Llamas personally, and/or through his
                   intermediaries, including Michelle Sides, failed to adhere to corporate
27                 formalities required by law such as holding and documenting corporate board
28                 of director meetings and votes as so required, which includes MJNA's failure



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                  to obtain board of director approval for the sale of its majority owned
                  subsidiary. PhytoSPHERE Systems, LLC's assets to CannaVest Corp.;
2              d. MJNA,   Michelle Sides and/or Michael Llamas personally, and/or through his
                  intermediaries, including Michelle Sides, published false and misleading
3
                  financial statements to the public;
4              e. IVIJNA, Michelle Sides and/or Michael Llamas personally, and/or through his
                   intermediaries, including Michelle Sides, published false and misleading
5                 disclosure documents to the public;
6              f. MJNA, Michelle Sides and/or Michael Llamas personally, and/or through his
                   intermediaries, including Michelle Sides, engaged in a pattern of behavior
7                  intended to mislead and defraud its investors, affiliates, subsidiaries, and
                   business partners, including Red Dice and Dixie.
 8
           75.     The "Stale Mate" provision found at § 9.3 of the Operating Agreement states
9
   that disputes that cannot be resolved by the Management Committee shall be determined by a
10 neutral third-party. The Court is a neutral third-party capable of resolving this dispute
   concerning the Parties legal rights and duties.
11
           76.      Dixie, on behalf of Red Dice, seeks a declaration from the Court that MJNA
12 has violated  § 11.2(a)(ii) of the Operating Agreement, triggering the Mandatory Offer to Sell
13 provision.
14          77.    A judicial declaration pursuant to Cal. Civ. Proc. Code § 1060 is necessary
     and appropriate at this time so that Red Dice's rights under the Operating Agreement may be
15
     determined with certainty.
16
           WHEREFORE, Dixie Holdings, LLC, derivatively as a member of Red Dice
17 Holdings, LLC, requests that the Court enter judgment in its favor, awarding the following
   relief:
18              Judgment against Defendant Medical Marijuana, Inc. in an amount to be
           a.
19               proven at trial;
           b.    Judgment against Defendant Medical Marijuana, Inc. that it is required to
20               specifically perform its obligation under the Operating Agreement and
                 contribute the 24,166,667 unrestricted shares of its common stock; or pursuant
21               to Cal. Corp. Code § 17201(a)(2), it is required to contribute the cash
22               equivalent of the property or services it promised;
           c.    For incidental, consequential and/or other damages in an amount to be
23               determined at Trial;
           d.    Declaratory relief that MJNA has violated § 11.2(a)(ii) of the Operating
24               Agreement, triggering the Mandatory Offer to Sell provision;
25         e.    For attorneys' fees and costs as the Court deems just and proper;
           f.    For such other and further relief as the Court deems just and equitable.
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                                               {01075124 / 2}
                                   PLAINTIFFS' VERIFIED COMPLAINT
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     Dated: July 18, 2013      M:ESSNER REEVES, LLP
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5
                                By:    k
                                      Robert B. flinckley, Jr.
6                                     Attorneys for Plaintiff
                                      DIXIE HOLDINGS, LLC derivatively on behalf of
7                                     RED DICE HOLDINGS, LLC
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                            PLAIN 111, S' VERIFIED COMPLAINT
